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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                              No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




DEFENDANT’S MOTION IN LIMINE OBJECTING TO GOVERNMENT’S LATE R.16
   PRODUCTION AND REQUESTS FOR OTHER MISCELLANEOUS RELIEF

       Last night, on Saturday, February 11, 2024, at 9:15 pm, less than 36 hours before the

beginning of trial, the Government produced a large batch of new discovery to the Defense. The

last-minute discovery contains 71 documents totaling over 1 gigabyte of data. The Defense

objects to this late Rule 16 discovery and has not had time to review it. Nor can Mr. Sterlingov,

as the jail has taken his laptop, that he used for discovery review, away from him on the eve of

trial. The considerable volume of the last-minute production, only some of which is Jencks

material, may require the Defense to either; a) request a short continuance to review the last-

minute production; b) move to exclude the last-minute production; or c) request such relief as

appropriate under the circumstances. Additionally, the Defense is concerned that some of the late

disclosure contains Brady material.

       A cursory review of the material produced at the last minute by the Government reveals

that many of the documents contain dates from 2019, 2020 and earlier, and that there is no

apparent reason for the Government’s delay in meeting their Rule 16 obligations. This is the




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second time that the Government has produced substantial discovery on the brink of trial, as the

Government did the same thing just days before the trial date scheduled for September 2023.

                                    MISCELLANEOUS RELIEF

        Additionally, the Defense requests that this Court rule on the Defendant’s Daubert

motions and make its determination on the scope and limitations of the expert witness testimony.

The Defense will no longer be calling Jonelle Still or Dr. Itiel Dror as expert witnesses, so the

Court need not make any determination as to them.

        Furthermore, the Defense attaches updated cryptocurrency forensics qualifications

acquired by proffered Defense expert witnesses Dr. Francisco Cabanas and Professor J.W. Verret

for the Court and the Government.

        On September 19, 2023, Dr. Francisco Cabanas acquired a Cryptocurrency Tracing

Certified Examiner (CTCE) certificate from Ciphertrace (attached as Ex. A). On December 21,

2023, Professor J.W. Verret earned his board certification and designation as a Certified

Cryptocurrency Forensic Investigator (CCFI) from the McAfee Institute (attached as Ex. B).

These certifications should satisfy this Court’s previously expressed concerns as to whether

Professor Verret and Dr. Cabanas can testify as to blockchain analysis, as these certifications are

equal to or exceed the certifications held by the Government’s proffered expert witnesses.

        The Defense further requests that this Court rule on the Defendant’s Motion to Dismiss

(Dkt. 46). Particularly, the Defense requests a decision on the venue issue, as it seeks guidance

on this issue as well as the statute of limitations issue in relation to the trial.

        Finally, the Defense asks this Court for clarification on its interpretation of FRE 704 as it

relates to expert testimony on ultimate issues.




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Dated: February 11th, 2024
Brooklyn, New York


                                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of February 2024, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Michael Hassard

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